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                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION



ALTON JONES,

       Petitioner,

vs.                                              CASE NO. 8:12-cv-914-T-30TGW
                                                 CRIM. CASE NO. 8:09-cr-440-T-30TGW
UNITED STATES OF AMERICA,

      Respondent.
___________________________________/


                                         ORDER

       BEFORE THE COURT is Jones's Motion to Vacate, Set Aside or Correct Sentence

pursuant to 28 U.S.C. § 2255 (CV Doc. 7), the Government's motion to dismiss (CV Doc.

10) and Jones's Reply (CV Doc. 12). Upon consideration, the court concludes that Jones's

motion should be DENIED.

                                Procedural Background

       Jones was charged by an indictment with conspiracy to possess with intent to

distribute five kilograms or more of cocaine, in violation of 21 U.S.C. §§ 841(b)(1)(A)(ii)

and 846 (Count One), carrying and possessing a firearm during, in relation to, and in

furtherance of the conspiracy, in violation of 18 U.S.C.§ 924(c)(1) (Count Two), and

possession of a firearm by a convicted felon, in violation of 18 U.S.C. §§ 922(g) and 924(e)

(Count Three). (CR Doc. 32). On February 10, 2010, Jones pleaded guilty pursuant to a
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written plea agreement to Counts One and Two.1 (CR Docs. 77, 166). Jones was sentenced

to a total of three hundred sixty (360) months imprisonment to be followed by one hundred

twenty (120) months of supervised release. (CR Doc. 123). Jones appealed his conviction

and sentence. On December 2, 2010, the United States Court of Appeals for the Eleventh

Circuit granted the Government's motion to dismiss the appeal based on a valid and

enforceable appeal waiver. (CR Doc. 174).

       The Government does not challenge the timeliness of Jones's Section 2255 motion.

In the motion, Jones presents two grounds for relief:

       Ground One: Trial counsel rendered ineffective assistance by not
                   adequately advising Jones whether entering into a
                   plea agreement with the Government was in his
                   best interest rather than entering a[n] open plea; and

       Grounds Two: Trial counsel rendered ineffective assistance by not
                    pursuing 5K1 negotiations with the Government on
                    Jones's behalf

                                           Discussion

       A voluntary and intelligent guilty plea forecloses federal collateral review of alleged

constitutional errors preceding the entry of the plea. Tollett v. Henderson, 411 U.S. 258,

266-67 (1973); Wilson v. United States, 962 F.2d 996 (11th Cir. 1992). Jones's grounds

allege ineffective assistance rendered before entry of his guilty plea. The record shows that

he entered a voluntary and intelligent guilty plea. (CR Doc. 166, pp. 1-42). Jones's

voluntary plea waived his antecedent non-jurisdictional grounds for relief because the


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           The Government dismissed Count Three. (CR Doc. 122).

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grounds do not implicate the validity of the plea. United States v. Glinsey, 209 F.3d 386, 392

(5th Cir. 2000), cert. denied, 531 U.S. 919 (2000). Consequently, grounds one and two of

Jones's motion to vacate warrant no relief.

        Even if Jones's grounds were not waived simply by entry of his voluntary plea, his

written plea agreement includes an express waiver of his right to appeal or collaterally attack

his sentence.2 An appeal waiver in a plea agreement is enforceable if the waiver is made

knowingly and voluntarily. United States v. Weaver, 275 F.3d 1320, 1333 (11th Cir. 2001);

United States v. Bushert, 997 F.2d 1343, 1350-51 (11th Cir. 1993). An appeal waiver will

be enforced if the Government demonstrates either: (1) that the district court specifically

questioned the defendant about the waiver during the plea colloquy, or (2) that the record

clearly shows that the defendant otherwise understood the full significance of the waiver.

Williams v. United States, 396 F.3d 1340, 1341 (11th Cir. 2005); United States v. Buchanan,



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            Paragraph five of the plea agreement states:

                  The defendant agrees that this Court has jurisdiction and authority to
                  impose any sentence up to the statutory maximum and expressly waives the
                  right to appeal defendant's sentence or to challenge it collaterally on any
                  ground, including the ground that the Court erred in determining the
                  applicable guidelines range pursuant to the United States Sentencing
                  Guidelines, except (a) the ground that the sentence exceeds the defendant's
                  applicable guidelines range as determined by the Court pursuant to the
                  United States Sentencing Guidelines; (b) the ground that the sentence
                  exceeds the statutory maximum penalty; or (c) the ground that the sentence
                  violates the Eighth Amendment to the Constitution; provided, however, that
                  if the government exercises its right to appeal the sentence imposed, as
                  authorized by Title 18, United States Code, Section 3742(b), then the
                  defendant is released from his waiver and may appeal the sentence as
                  authorized by Title 18, United States Code, Section 3742(a).

(CR Doc. 77, p. 13).

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131 F.3d 1005, 1008 (11th Cir. 1997). A knowing and voluntary waiver precludes a

defendant from collaterally attacking his conviction in a Section 2255 motion. Williams, 396

F.3d at 1342.

       During the plea colloquy Jones specifically averred that he understood the

consequences of the appeal waiver, including the provision barring a collateral attack:

       COURT:        I also want to emphasize paragraph five. First, I'll
                     tell you that even though you are pleading guilty,
                     you have a right to appeal your sentence, but
                     under paragraph five you limit the extent to which
                     you can appeal your sentence.

                     Under paragraph five you can only appeal if the
                     sentence exceeds the guidelines range as
                     determined by the court under the guidelines, or
                     the sentence exceeds the statutory maximum
                     penalty of life in prison, or the sentence violates
                     the Eighth Amendment to the Constitution which
                     prohibits excessive fines and cruel and unusual
                     punishment. Those are the only three about [sic]
                     your sentence that you can't [sic] appeal. Do you
                     understand that?

       [JONES]:      Yes, sir.

       COURT:        And, in particular, what you cannot appeal is the
                     way the court calculates the sentencing
                     guidelines. Do you understand that?

       [JONES]:      Yes, sir.

       COURT:        And, furthermore, you cannot come back to this
                     court at some later time and complain about the
                     calculation either. Do you understand that?

       [JONES]:      Yes, sir.


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       COURT:        And that includes being unable to come back and
                     complain that your lawyer was somehow
                     ineffective with respect to the - - the guidelines.
                     Do you understand that?

       [JONES]:      Yes, sir.

       COURT:        Do you have any question about that provision?

       [JONES]:      No, sir.

(CR Doc. 166, pp. 36-37).

       Upon completion of the full colloquy, the magistrate judge concluded that Jones freely

and voluntarily entered his plea, including the appeal waiver. (CR Doc. 166, p. 41). Jones

does not argue that any of the exceptions specified in the appeal waiver apply to permit

collateral review of his grounds. Consequently, the appeal waiver precludes federal review

of both grounds one and two in this Section 2255 motion.

       Alternatively, to the extent that Jones's ground one, liberally construed, challenges the

validity of both his guilty plea and the appeal waiver based upon counsel's alleged ineffective

assistance, a review on the merits of that ground likewise affords Jones no relief. See Patel

v. United States, 252 Fed. Appx. 970, 974 (11th Cir.2007) (an appeal waiver does not bar a

§ 2255 claim that either the defendant's plea or the appeal waiver itself is invalid due to

ineffective assistance of counsel). See also United States v. White, 307 F.3d 336, 341 (5th

Cir.2002) (indicating that "a waiver of appeal may not be enforced against a section 2255


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petitioner who claims that ineffective assistance of counsel rendered that waiver unknowing

or involuntary"); United States v. Cockerham, 237 F.3d 1179, 1187 (10th Cir.2001) (holding

that "a plea agreement waiver of post-conviction rights does not waive the right to bring a

§ 2255 petition based on ineffective assistance of counsel claims challenging the validity of

the plea or the waiver").

       In ground one Jones contends that his trial counsel rendered ineffective assistance by

not adequately advising Jones about the benefit of entering into a plea agreement with the

Government versus entering an open plea which, Jones claims, would have allowed him to

receive a sentence reduction for acceptance of responsibility and allowed him to preserve his

right to challenge his conviction on both direct appeal and collateral review. Jones claims

that if he had been adequately informed about his available plea options, he would have

rejected the Government's plea offer and entered an open plea.

       Jones produces no evidence establishing that he involuntarily entered either his guilty

plea or his appeal waiver. He signed the written plea agreement in which he admitted that

he entered the agreement (which includes the appeal waiver) freely and voluntarily without

threat or coercion. (CR Doc. 77, pp. 14-15). During the plea colloquy the magistrate judge

advised Jones of the terms of the plea agreement, including the appeal waiver. Jones averred

under oath that he understood the waiver and the limited circumstances in which he could

appeal his conviction and sentence, and that he agreed to the waiver freely and voluntarily




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as part of his plea agreement.3 (CR Doc. 166, pp. 36-37). Jones during neither the plea

colloquy nor the sentencing hearing alerted the court to any misunderstanding of the appeal

waiver. Jones presents no evidence establishing either that he did not want to proceed with

his negotiated plea or that he misunderstood his plea options or the appeal waiver. Jones fails

to overcome the strong presumption of verity afforded his sworn statements made during the

plea colloquy. See Blackledge v. Allison, 431 U.S. 63, 73-74 (1977) ("[T]he representations

of the defendant [at a Rule 11 plea hearing], as well as any findings made by the judge

accepting the plea, constitute a formidable barrier in any subsequent collateral proceedings.

Solemn declarations in open court carry a strong presumption of verity.").

        Even assuming, arguendo, that counsel performed deficiently by failing to explain the

implications of an open plea or the implications of the appeal waiver, Jones fails to establish

resulting prejudice. See Hill v. Lockhart, 474 U.S. 59 (1985) (to establish a claim of

ineffective assistance under Strickland v. Washington, 466 U.S. 668 (1984), a petitioner must

demonstrate both deficient performance and prejudice (i.e., that, but for counsel's

unprofessional errors, he would not have pleaded guilty and would have insisted on

proceeding to trial)). Consequently, Jones cannot obtain relief on this ground of ineffective




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          The United States Court of Appeals for the Eleventh Circuit confirmed on direct appeal the validity
of the appeal waiver:

        The Government's motion to dismiss this appeal based on the valid and enforceable appeal
        waiver in [Jones]'s plea agreement is GRANTED.

(CR Doc. 174, p. 1).

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assistance of counsel because the requirements of Strickland remain unsatisfied. See

Strickland v. Washington, 466 U.S. at 691-92.

                                   Evidentiary hearing

       This case warrants no evidentiary hearing because "it plainly appears from the face

of the motion and any annexed exhibits and the prior proceedings in the case that the movant

is not entitled to relief." Broadwater v. United States, 292 F.3d 1302, 1303 (11th Cir. 2003).

       Accordingly, it is ORDERED AND ADJUDGED that Jones's Motion to Vacate, Set

Aside, or Correct Sentence pursuant to 28 U.S.C. § 2255 (CV Doc. 7) is DENIED. The clerk

is directed to enter judgment against Jones and to close this case.

  CERTIFICATE OF APPEALABILITY AND LEAVE TO APPEAL IN FORMA
                       PAUPERIS DENIED

       IT IS FURTHER ORDERED that Jones is not entitled to a certificate of appealability.

A prisoner seeking a motion to vacate has no absolute entitlement to appeal a district court's

denial of his motion. 28 U.S.C. § 2253(c)(1). Rather, a district court must first issue a

certificate of appealability (COA). Id. "A [COA] may issue . . . only if the applicant has

made a substantial showing of the denial of a constitutional right." Id. at § 2253(c)(2). To

make such a showing, Jones "must demonstrate that reasonable jurists would find the district

court's assessment of the constitutional claims debatable or wrong," Tennard v. Dretke, 542

U.S. 274, 282 (2004) (quoting Slack v. McDaniel, 529 U.S. 473, 484 (2000)), or that "the

issues presented were 'adequate to deserve encouragement to proceed further.'" Miller-El v.

Cockrell, 537 U.S. 322, 335-36 (2003) (quoting Barefoot v. Estelle, 463 U.S. 880, 893 n. 4


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(1983)). Jones has not made the requisite showing in these circumstances. Finally, because

Jones is not entitled to a certificate of appealability, he is not entitled to appeal in forma

pauperis.

       DONE and ORDERED in Tampa, Florida on January 2, 2013.




Copies furnished to:
Counsel/Parties of Record

JSM:kw




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